Case 3:19-cv-08268-DLR Document 16-2 Filed 12/02/19 Page 1 of 63

EXHIBIT E

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Stephenson, Elston <elston_stephenson@nps.gov>

[EXTERNAL] Stephenson: discussion w/ Mr. Stephenson regarding case, Other
Matters

Tinsley, Laurence (USAAZ) <Laturence.Tinsley@usdoj.gov> Fri, Nov 1, 2019 at 11:20 AM
To: "Stephenson, Elston" <elston_stephenson@nps.gov>
Cc: "Tinsley, Laurence (USAAZ)" <Laurence.Tinsley@usdoj.gov>, "Yim, Deborah" <deborah.yim@sol.doi.gov>

Mr. Stephenson:

| have referred your email below and the others to our Criminal Division.
Thank you.

{Quoted text hidden}

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EXHIBIT E-1
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[EXTERNAL] Complaint of criminal conduct

Stephenson, Elston <elston_stephenson@nps.gov>

Galati, Frank (USAAZ) <Frank.Galati@usdoj.gov> Fri, Nov 8, 2019 at 3:18 PM

To: "elston_stephenson@nps.gov" <elston_stephenson@nps.gov>

Good afternoon Mr. Stephenson—

In July of this year, | was the duty attorney who fielded a call from you.
During that call, you reported to me your concerns regarding the Park
Service’s and DOIl’s investigations into, and reporting about, uranium that
was found at the Grand Canyon Museum. You also told me that you
believe that your superiors were retaliating against you. | referred your
complaint to the FBI. In August, the FBI reported to me that it was
satisfied that there were no criminal violations for the FBI to assess. |
passed the FBI’s conclusions on to you in a telephone conversation we
had on August 20, 2019.

| am aware of the recent email message that you sent to AUSA Tinsley. |
know that you are aware that the United States Attorney’s Office is not an
investigative agency. So, to the extent you believe that message contains
new facts or new allegations of criminal conduct, | again urge you to
report your concerns to an investigative agency, such as the FBI.

Best regards,

FRANK T. GALATI

Assistant United States Attorney
District of Arizona

40 North Central Avenue Suite 1800
Phoenix, AZ 85004

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EXHIBIT F-
41/22/2019 DEPARMENT: OB 1GE-NEAEGR MbiRstebHeRdh LB itd ReyZcofdbedtoimdG@ LbApianegied/ 6x (Biking), Falsified State...

Stephenson, Elston <elston_stephenson@nps.gov>

Stephenson US Attorney Contact / Formal IG Complaint Failed 16E (Stalking),
Falsified Statements Docs (OSHA)

Stephenson, Elston <elston_stephenson@nps.gov> Tue, Nov 19, 2019 at 11:23 AM
To: "Tinsley, Laurence (USAAZ)" <Laurence.Tinsley@usdoj.gov>, "Yim, Deborah" <deborah.yim@sol.doi.gov>

Mr. Tinsley, Ms Yim,
Good Morning.

Please, | just recently opened and reviewed the Motion to Dismiss. The tenor and falsified statements in the document
are disappointing and require me to adjust my approach to this engagement and re-evaluate what | considered good faith.

Mr. Tinsley, | am quite confident that Drapeaux perjured himself---materially lied to You. And that this has resulted in the
lies being entered in your Motion to Dismiss and forwarded to the Court.

_ Please find in the email below that | explain how | caught Smeck and Co. frauding a DOI/NPS 16E Harassment
Complaint---the Complaint filed as a result of Drapeaux's stalking my home.

| immediately let the IMR/NPS/DOI leadership know that Drapeaux was stalking my home almost as soon as the witness
worker left my office. (attached)

In short, Smeck immediately contacted me (email chain in attachments) and told me that he generated a 16E Complaint
in the DOI/NPS system. We did a preliminary interview. He insisted on having it investigated by a third-party. (attached)

As the email below details, he and others at IMR essentially 'faked' a 16E.
This is now the subject of an IG investigation, currently underway.

The excuse given in the Motion to Dismiss for Drapeaux's stalking my home is that "Defendant Drapeaux investigated
Plaintiff because he had been directed by [Smeck] to confirm that Plaintiff was not using the GOV during the time Plaintiff
was suspended and off duty." (ref. MTD pg 3, line 1)

Respectfully, if Smeck had directed Drapeaux to scope out my home, he would have piped up as soon as the stalking
allegation came to him. And the three times that | met with him on the subject. He knew the dates. He would never have
filed the 16E if he had ordered Drapeaux to stake out my home. He would have said, "Elston, this isn't quite what it

_ seems..."

And he would never have followed up with an email to IMRegional Office.

Respectfully, | believe one of 2 things is true; Drapeaux lied outright and invoked Smeck’s name without Smeck knowing
it, or Drapeaux and Smeck got together once they found out about my filing for Injunction (after filing the 16E) and
concocted a story---likely conspiracy and fraud.

Also not true:

"He personally saw the GOV at a coffee shop parking lot an hour away from Grand Canyon and contacted Plaintiff inside
the shop..." (ref. MTD pg 3, line 10)

An hour from Grand Canyon is nothing but mountains and forest. Drapeaux had also concocted an IG investigation
against me on this. As You can imagine, | take tons of pics and video in the course of my work. | readily admit---and
admitted to the IG investigators that | would take my truck to Starbucks 2 miles outside the main gate and park in front to
use their WiFi to send work safety pics and vids from my phone to my work computer because there is no WiFi on the
Park. Many others do the same thing. It would take hours (between the speed and re-do's after getting ‘Failed to Send’
messages just to send a handful of pics---forget about sending vid clips. | don't go into Starbucks | just send my pics and

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return to the Park. Clearly Drapeaux lied to make it seem like | was out joy-riding in the GOV when | was actually doing
government work.

"Plaintiff had a history of often using the GOV without checking it out under proper protocols..." (rer. MTD pg 3, line 3)

There are no check out protocols. Drapeaux knows this. | showed up here. They gave me a vehicle. | noticed other GOVs
parked at homes. | was the Safety Manager with duty to respond at all hours. | took the vehicle home.

"Plaintiff often used the GOV when he had no legitimate business reasons, including taking it home and driving to
destinations outside the park when he was not on authorized travel." (ref. MTD pg 3, line 6)

| used the vehicle at Grand Canyon, to go to our other headquarters office in Flagstaff, or to go to Kinko's Flagstaff to do
binding. Drapeaux obviously knows that we have a Flagstaff Office that | go to. He knows that | typically ‘bundle’ my
Kinko's binding with visits to the Flagstaff office. And that we do not get Authorized Travel to go to Flagstaff, or for the
Flagstaff personnel to come to GRCA.

Drapeaux---everyone knew this for more than 2 years. Ask Drapeaux to produce a single counseling statement, warning,
correction---anything, and he will not be able to do it.

“Plaintiff had misused the vehicle and received discipline for the misuse and Drapeaux was following up to ensure that
Plaintiff was not violating the terms of his discipline." (ref. MTD, pg 6, line 2) :

| was never disciplined for misuse of my vehicle. Period. Drapeaux should be able to produce documentation of such
misuse and discipline. He won't be able to because this is a lie.

Again, Drapeaux knew of my actions with the vehicle for 2 years, yet did nothing as a supervisor or Deputy
Superintendent to correct me if | were doing anything wrong. What he did, instead, was noted them and saved them up,
then use them by calling the IG when he figured that | was going to the U.S. Attorney's office and OSHA to report the
falsifying documents, false statements, etc. In fact, the very first action that Drapeax took was to write a memo after |
texted him that | was going to the U.S. Attorney and OSHA office.

This is why in the MTD statement "Drapeaux thus exercised his legitimate managerial oversight over Plaintiff when
Drapeaux checked the whereabouts of the GOV" begs the question (and undermines the assertion)..."If taking the GOV
violated any policy known by Drapeaux. And Drapeaux knew that the vehicle was at my home; as my supervisor and

' Grand Canyon National Park Deputy Superintendent, why didn't he just order that the vehicle not be at my home?"

As | shared earlier, Drapeaux recently filed an IG complaint against me about the alleged vehicle misuse. | am sure that if
You contact the IG Investigator, they will validate that | told them everything just as | explain it here. As he did with
Lehnertz, he invoked the names of others (without their knowledge) to make it sound as if they had spontaneously and
contemporaneously lodged some sort of complaint for events 2 years old in order to swindle investigators into taking HIS
contrived complaint seriously and legitimately.

Drapeaux was not "exercis[ing] his legitimate managerial oversight". His legitimate managerial oversight was to correct
me if taking the vehicle home was in violation of policy or practice. He was up to no good.

Again, in the Motion to Dismiss, it appears that the rationale for Drapeaux stalking my home was that he was directed
there by Smeck. Based on Smeck's (16E actions and 3 face-to-face meetings) that does not appear to be the case.

Also, "Plaintiff also alleged in his Petition that NPS management interfered with First Aid classes he taught, when his
supervisor limited his use for the classes and managers attended the classes as part of routine oversight of its
employees’ work related activities"

This too is knowingly falsified---perjury. The manager was the Deputy Chief Ranger for Law Enforcement. A quick look at

the roster of attendees shows that there were no LE in attendance. 16 of 19 were Science and Resource Management, 2
were from Albright Learning Center, and 1 was from Commercial Services (attached).

These fit with Drapeaux's lying pattern. He typically takes a kernel of truth and drums up a hum-dinger.
And he typically tells lies which demonstrate an arrogance that no one will check or cross-check what he says. A quick

look at just the most recent EEOC statements also reveal a canoe of easily documentable false statements and perjury
intended to not only fraudulently defeat the EEOC system, but my Constitutional Rights under Title VII.

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Ms Yim, as | reviewed the recent EEOC material; there are nearly two dozen flat out lies by Drapeaux. All of them easily
documented.

It will take a while to list them all, but a few quick examples include Drapeaux's Formal Investigation Supplemental
statement to the EEO Investigator (Exhibit F-2, page 3 line A) where he states "No. To my knowledge no safety plan was
submitted for approval."

A quick look to Superintendent Woody Smeck's statement (Exhibit F-3, page unknown, line 11) states "Mr. Stephenson
had prepared a draft plan prior to my arrival. The plan was reviewed by the deputy superintendents. They provided to me
a copy of their handwritten comments and notations..."

In the very same document Superintendent Sarah Creachbaum includes not only Lehnertz's email on the subject (if | sent
Lehnertz the document, | sent it to Drapeaux); but she attaches emails regarding the Plan that | had sent to the entire
Park Senior Executive Team (PSET), and most importantly and email exchange between Drapeaux and me on a version
(I have submitted 4 or 5 of them) of the Plan that submitted with his instructions and comments. You can even see the ,
little MS Word attachment icon at the end of the email. (attached)

Another obvious one is the read of DOI IG report 18-1188. A bogus complaint that Drapeaux filed against Lehnertz. He
weaponized the IG Complaint system against her as she sought to discipline him (Senior Official) for not conducting DOI,
NPS, and OPM performance counseling and EPAP. on me (Senior Official's Subordinate). Clearly in the document he lies
and swindles Lehnertz for nearly a year---repeatedly telling her that he had conducted the counseling and that | had
signed it---when clearly he did not. | did not know this until | read this report this past July 4th. This is important because
while Lehnertz's was pressing him to do it (unknown to me) from one end, | a former supervisor who knows such
counseling must be done was bugging him to do it from the other end.

A look at the NPS EEO Report of Counseling shows that he, again lied to that investigator when he not only said that the
first time that | asked for training was June 2018, but that my asking was the first time such counseling had ever occurred
to him. Never mind that it is not the subordinate's responsibility to initiate the counseling; but in his role as Dep
Superintendent Drapeaux was haranguing PSET near-weekly to get their counseling/EPAPs done.

A more detailed look would show that the DOI IG and EEO Investigator's interviews were being conducted near
simultaneously. This wasn't a slip of the mind.

Also a problem for Agency's case; Drapeaux clearly states that Lehnertz's actions against me were race-based. He
insinuates this in DOIIG Report 18-1188 as well. He also clearly states the fact that he had so weaponized the IG system
against her that he had filed "several complaints against Ms. Lehnertz". (attached)

Mr. Tinsley, respecttully, You---the U.S. Attorney's Office unwittingly submitted to the Court a document 'Swiss cheesed'
with material knowingly false statements. Likely perjury.

Ms. Yim, respectfully, there is/are just so much fraud, knowingly falsified statement---perjury in Drapeaux's statements
that it's taking me weeks to draft a rebuttal.

Reading the tone and the accusations in the Motion to Dismiss is so offensive that it has me needing to ‘take a knee’ and
consider what guardrails and protective measures any sort of potential Agreement may have to include to address a
situation where someone so determined to do me harm and so unreliable as a 'party' to any agreement would require or
make sense.

Please allow me a moment to ‘recage my attitude indicator’.
Please receive the outlines of a framework for your consideration.

If these are not do

Framework

Same Agreement that Agency violated

All Drapeaux paperwork in my personnel file deleted

Refund for all professional schooling paid out of pocket (to include travel, car rental, airline, hotel, per diem) -
| decide which professional safety courses to attend in order to meet 50B CEU requirements

Self-approve CompTime

Report directly to Superintendent

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No one-on-one contact with Drapeaux

Drapeaux stay away from my home
CompTime/Overtime rejected restored
Leave/CompTime spent on professional training returned

Also, as we spoke last week, some person was here wanting to conduct an ‘interview’ with me. They tried to trick me into
thinking that | was a "witness" when they let it slip that | was actually the Subject. They said that they were here on the
direction of DOI Headquarters. Ms. Lim, | believe You as You expressed that "the highest levels of DOI want to get this
done".

This is like the 4th or 5th investigation of some sort against me since | reported the uranium.
Please, this is incompatible with the Highest Level's expression of Detente, and must be addressed.

Mr. Tinsley, respectfully, please consider this my opening tranche of Discovery---GRCA Stalking witness audio included,
with more to follow.

Incidentally and to the central argument of the Motion to Dismiss; | have not met with Drapeaux one-on-one for nearly a
year and a half (except to write the EPAP ordered by the failed Agreement). As far as | know, he has not been on my
circle block at all other than stalking my home. And Grand Canyon National Park has not fallen.

Please let me get with EEOC and others as | consider these latest developments and their implication to any Agreement.

Thank You.

Respectfully,
Elston

Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

women n enn Forwarded message ---------

From: Stephenson, Elston <elston __Stephenson@nps. gov>

Date: Tue, Oct 22, 2019 at 8:24 AM’

Subject: Stephenson US Attorney Contact / Formal |G Complaint Failed 16E (Stalking), Falsified Statements Docs
(OSHA)

To: David Bernhardt <dwbernhardi@ios.doi.gov>, Mark Greenblatt <mark_greenblatt@doicig.gov>

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15 attachments
Stephenson GRCA False StatementsFalsified Documents v OSHA Citation 1363108.pdf
520K

=) Stephenson - 16E 'Update' and Return to Drapeaux Supervision.pdf
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e Stephenson - " Bogus Training Offer. pdf
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“ Stephenson - Complaint Drapeaux Stalking Home (DOI Harassing Conduct Complaint 16E 868).pdf
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Stephenson - White Paper Pipeline Aviation Safety.pdf
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Stephenson, Elston <elston_stephenson@nps.gov>

Stephenson US Attorney Contact / Formal IG Complaint Failed 16E (Stalking),
Falsified Statements Docs (OSHA) —

Stephenson, Elston <elston _stephenson@nps. gov> Tue, Nov 19, 2019 at 12:07 PM
To: "Tinsley, Laurence (USAAZ)" <Laurence. Tinsley@usdoj. gov>, "Yim, Deborah" <deborah.yim@sol.doi.gov>

Mr. Tinsley, Ms Yim,
Please receive these 5 attachments intended for the original send.

Please accept my apology for missing our 'meeting' along with my apology for mistakes in the email (e.g. Ms Lim instead
of Ms. Yim). | have been pulling all-nighters going through the material.

Again, please allow me to re-group, get some rest, and get back with You.

Thank You.

Very Sincerely,
Elston

Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

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20 attachments

Stephenson GRCA False StatementsFalsified Documents v OSHA Citation 1363108.pdf

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= Stephenson - White Paper Pipeline Aviation Safety.pdf
— 421K

= Stephenson GRCA DOI NPS Settlement Agreement_NPS-1 8-0460_GRCA FINAL (signed).pdf
— 254K

= Stephenson GRCA EEO Report of Investigation Witness Statements.pdf
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Stephenson GRCA EEO Report of Investigation.pdf
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EXHIBIT G

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UNFOUNDED ALLEGATIONS OF
IMPROPER LEADERSHIP DECISIONS
AND HOSTILE WORK ENVIRONMENT
AT GRAND CANYON NATIONAL PARK

This is a revised version of the report prepared for public release.

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Case 3:19-cv-08268-DLR Document 16-2 Filed 12/02/19 Page 16 of 63

SYNOPSIS

We investigated allegations that Grand Canyon National Park (GRCA) Superintendent Christine
Lehnertz proposed a 1-day suspension for a GRCA senior official for an improper purpose; that
she created a hostile work environment and engaged in bullying and retaliatory behavior against
senior leaders, particularly male leaders, at the GRCA; and that she wasted nearly $180,000 in
renovations to a park residence.

We found that Lehnertz legitimately proposed a 1-day suspension for the GRCA senior official
for “Failure to Follow Supervisory Instruction” because the official did not provide Lehnertz a
copy of an Employee Performance Appraisal Plan (EPAP) for one of his subordinate employees,
despite multiple requests; did not provide written reports as requested by Lehnertz related to a
high-priority initiative at the GRCA; and did not attend a scheduled meeting related to that
initiative.

We found no evidence that Lehnertz created a hostile work environment or that she wasted
nearly $180,000 in unnecessary renovations to a park residence.

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.

DETAILS OF INVESTIGATION

We investigated allegations that questioned Grand Canyon National Park (GRCA)
Superintendent Christine Lehnertz’ leadership.at the GRCA. The allegations stated that Lehnertz:

e Proposed a I-day suspension for a GRCA senior official for an improper purpose

e Created a hostile work environment and engaged in bullying and retaliatory behavior
against senior leaders, particularly male leaders, at the GRCA

e Wasted nearly $180,000 in renovations to a park residence

Lehnertz Proposed Suspension of a GRCA Senior Official for Legitimate Disciplinary
Reasons

We found that on August 31, 2018, Lehnertz proposed a 1-day suspension without pay against
the GRCA senior official for “Failure to Follow Supervisory Instruction.” According to

Lehnertz, the senior official did not:

1. Provide an employee performance appraisal plan (EPAP) for a subordinate employee as
requested

2. Provide Lehnertz written progress reports regarding a high-priority park initiative as
directed

3. Attend a required meeting to discuss development options for the initiative or request
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approved leave
The Senior Official Did Not Provide an EPAP for a Subordinate Employee as Requested ©

The GRCA hired the senior official’s subordinate employee on June 25, 2017, with a l-year
probationary period. The employee initially reported to Lehnertz but was transferred under the
senior official’s supervision in September 2017. Lehnertz said that at that time, she told the
senior official he needed to complete a performance review and create an EPAP for the
subordinate employee.

The DOI Performance Management System (370 DM 430) requires that a supervisor establish a
subordinate’s EPAP within 60 days of the beginning of the appraisal period, the employee’s
entrance on duty, the assignment of an employee to a new position, the assignment of an
employee to a new or different supervisory position, or the assignment of an employee to a detail
or temporary promotion scheduled to exceed 120 days.

Lehnertz said she asked the senior official for a copy of the subordinate employee’s EPAP
during meetings on June 25, 2018, and June 29, 2018, and by email and text message on July 2,
2018. Lehnertz said the senior official responded to each of her requests that he had an EPAP for
the employee.

_ In the July 2 email, Lehnertz asked the senior official to provide her a copy of the signed EPAP
“first thing this morning.” Lehnertz said the senior official told her he was “working on it,” but
the signed EPAP was not on her desk when she arrived at the office on July 3. Later that day,
Lehnertz asked the senior official again in an email if he had a signed EPAP for the subordinate
employee.

. The senior official responded to Lehnertz on July 6, stating, “After further review, I do not have
a signed EPAP [for the employee]. . . . In our discussions, I was sure that I had one signed... . I
was quite sure I had him sign the EPAP developed. Yes Chris, you did direct me to provide you
a copy of a signed EPAP. My apologies for not complying with your directive.”

On July 10, 2018, Lehnertz emailed an NPS regional manager stating she (Lehnertz) needed to
take a disciplinary action against the senior official because he was not truthful about the signed
EPAP. Later that same day, the senior official emailed the NPS regional manager, stating his
belief that Lehnertz had lost objectivity regarding the subordinate employee.

The NPS regional manager said she talked to the senior official in July 2018 and told him to sign
an EPAP for the subordinate employee immediately and that Lehnertz could hold the senior
official accountable if the subordinate employee did not have a signed EPAP. According to the
NPS regional manager, the senior official never completed the EPAP in response to Lehnertz’
requests.

The Senior Official Did Not Provide Lehnertz Written Progress Reports Regarding a High-
Priority Park Initiative

Lehnertz said developing this high-priority initiative was important not only to the GRCA but

Case 3:19-cv-08268-DLR Document 16-2 Filed 12/02/19 Page 18 of 63

also to the NPS. She said she assigned the senior official to lead the initiative in November 2017
and authorized and directed him to work with human resources to hire someone to fill a 1-year
detail to help him develop it.

Lehnertz said that in February 2018, she had not seen any progress on the initiative, so she told
the senior official they needed to meet every Monday to discuss the status. In addition, Lehnertz
requested that the senior official provide her with written progress reports each week when they
could not meet in person. Lehnertz said that over the next several weeks and months, the senior
official inaccurately represented that the initiative was moving forward and that he did not
complete the written reports as directed. Lehnertz said the senior official did not provide written
reports on seven or eight dates; the Notice of Proposed Suspension listed February 5, 2018; April
2, 2018; April 9, 2018; April 16, 2018; April 30, 2018; May 14, 2018; June 25, 2018; and July
23, 2018. .

According to Lehnertz, because the senior official did not make progress on developing the
initiative, she hired an NPS regional director on a detail to the GRCA in September 2018 to
develop it.

The Senior Official Did Not Attend a Required Meeting or Request Approved Leave

On May 16, 2018, Lehnertz emailed the senior official stating that he had not completed progress
reports for the initiative for May 7 and May 14. She directed him to prepare to discuss options
for development at their next regularly scheduled meeting on May 21. According to Lehnertz,
the senior official did not attend the meeting, so she emailed him on May 22 stating that he did
not attend the scheduled meeting and did not send her any text messages, voicemails, or emails
regarding his absence. Lehnertz also wrote that the senior official must submit written updates to
her and asked him how she could help or if there were barriers in their communication and
understanding. The senior official did not reply to Lehnertz’ email. Lehnertz stated that when she
talked to the senior official about his absence from the May 21 meeting, he said, “I don’t recall
that.”

Lehnertz Proposed a 1-Day Suspension for the Senior Official

In August 2018, Lehnertz discussed her concerns about the senior official with a GRCA human
resources specialist. The human resources specialist provided Lehnertz three different notices,
with discipline ranging from a written reprimand to a 3-day suspension.

Lehnertz said that before taking action against the senior official, she met with the senior official
on August 31, 2018, to give him an opportunity to explain his actions related to his subordinate
employee’s EPAP and progress reports for the high-priority initiative. According to Lehnertz, the
senior official said he had not completed the EPAP because he did not think it was his
responsibility. Consistent with the advice the NPS regional manager had provided to the senior
official in early July, Lehnertz said she reminded the senior official that the standard supervisory
element of his performance plan required him to complete an EPAP for each of his subordinate
employees. We found that the senior official’s 2017 EPAP stipulated that he communicate
performance standards that reflect job requirements to subordinates, give appraisals in a timely
manner, and establish performance plans for the current year according to human resources
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guidance.

Lehnertz said the senior official also told her he did not provide updates for the initiative because
he did not think the GRCA needed it.

Based on the senior official’s responses during the August 31 discussion, Lehnertz said she
decided to propose a |-day suspension for the senior official.

The Senior Official’s Response to the Proposed Suspension

On October 3, 2018, the senior official met with an NPS regional director to orally respond to the
proposed suspension. According to the regional director, the senior official said he did not
provide a signed EPAP for his subordinate employee to Lehnertz because he believed Lehnertz
would use the EPAP to terminate the employee. During his oral response, the senior official said,
“I did not, would not, and will not, provide it to her so that she can use it as a weapon.”

The senior official also told the regional director that he had reported his concerns about
Lehnertz’ requests for the EPAP to the U.S. Office of Special Counsel (OSC). According to the
senior official, Lehnertz proposed the 1-day suspension because the senior official did not
provide the EPAP to further the subordinate employee’s termination. The senior official
provided us copies of two OSC pre-determination letters, dated October 10 and October 15,
2018. In both letters, the OSC determined that an order to prepare an EPAP would not require
the senior official to violate a law because it is routine for supervisors to prepare such
documents. The letters also stated it was speculation by the senior official that Lehnertz would
use the EPAP for an improper purpose. In each of the two letters, the OSC made a preliminary
determination to close its inquiry into the senior official’s complaint.

When we interviewed the senior official, he confirmed that Lehnertz had asked him for his
subordinate employee’s EPAP in June 2018. He said he initially told her he had it, but later told
her he did not. The senior official stated he did not want to give the EPAP to Lehnertz because
he thought Lehnertz would use the EPAP to terminate the subordinate employee.

We also asked the senior official about the progress reports for the high-priority initiative. The
senior official told us he had previously admitted to the NPS regional director that he provided
verbal updates but did not always provide the written reports to Lehnertz as directed. When
asked why he did not provide the reports, the senior official replied, “I just didn’t get to them at
the time of the meeting.”

Finally, in his oral response to the proposed suspension, the senior official stated his calendar
indicated he was in Flagstaff, AZ, on May 21, 2018, at an annual review for the concessioners
and that Lehnertz’ calendar did not have any appointments scheduled for that date. The senior
official said he did not recall if he took leave that day. When we asked the senior official about
this meeting, he stated, “I’m still confused of the date, the circumstance of what may or may not
have happened.” The senior official later provided a copy of his calendar for May 21, 2018,
which showed a meeting scheduled at 4:00 p.m. for updates related to the initiative in “Chris’s
Office.”

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We confirmed that the senior official was not on leave on May 21, 2018, and that he claimed 8
regular work hours on that day.

Lehnertz Did Not Create a Hostile Work Environment at the GRCA

We interviewed 20 GRCA employees who worked directly with Lehnertz. Of those 20
employees, 15 were senior managers and 5 were nonsupervisory employees. Most of the
employees indicated that Lehnertz was generally liked at the park and reported that Lehnertz did
not treat men or women differently and held everyone to the same standard.

During our interviews, five employees—four managers and one nonsupervisory employee—
expressed they had encountered differences and conflict with Lehnertz on occasion. Despite
these occasions, four of these five employees identified positive aspects of Lehnertz’ leadership
and acknowledged that she championed an “inclusive and respectful” environment. The fifth
employee stated that she had expressed concerns about her first-level supervisor to GRCA
management and said the way Lehnertz handled her concerns caused her to mistrust GRCA
management. Some managers observed that Lehnertz “drilled down” for information, explaining
that she continuously asked questions to gather information if the presenter seemed ill-prepared
or provided incorrect information, which made them feel “intimidated” at times.

Lehnertz said a colleague from the Pacific West Region made her aware that when she drilled-
down for information, it felt like an accusation, rather than an inquiry. She added that a manager
at the GRCA felt nervous when she asked many detailed questions. Lehnertz said that instead of
discussing it with the manager individually, she discussed her management style with the GRCA
management team and conveyed that “when I’m really getting into something, I’m gonna ask
more and more detailed questions. And that it’s okay to say, ‘I don’t have that information, but
I'll get it.’” Lehnertz added that one of her personality traits is to drill “really deep on a question”
when she is stressed and that she told the GRCA management team that she would try to “check”
herself.

Lehnertz Did Not Authorize Unnecessary Renovations to a Park Residence

On July 20, 2017, Lehnertz emailed GRCA managers informing them that she had toured the
residence at 45 Kaibab Street in preparation for advertising the position for a deputy
superintendent for operations. In the email, Lehnertz stated the home would be an important
recruitment tool for the position. Lehnertz listed 19 deficiencies that she had identified during
her walk-through, ranging from smaller issues like removing a coat rack in the entry hall, to
larger projects like updating the kitchen and removing all carpet from the house. Lehnertz said
that after informing the managers of the deficiencies, she was no longer involved in the
renovations, except to request that the GRCA architect assist with the kitchen redesign.

An NPS housing official told us he managed the renovation project, to include resources,
materials, personnel, and budget, and he did not have to obtain higher supervisory approval. The
housing official said he inspected the house after the previous occupant moved out and made a
list of necessary renovations. He recalled that Lehnertz’ July 20 email included a list of updates
for the house and that it instructed the housing official to coordinate with another NPS manager,
who was on detail assignment. The housing official said most of the items referenced in
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Lehnertz’ email matched the list he had generated.

The housing official said he did not receive any further direction from Lehnertz about the
renovation after receiving the July 20 email. He said he provided weekly status reports to
management, which included Lehnertz, about all maintenance projects. He said neither the
incoming deputy superintendent nor Lehnertz attempted to direct him to complete any aspect of
the renovation.

According to the housing official, the renovation at 45 Kaibab Street began in August 2017 and’
ended in April 2018. He explained that the renovation took longer than anticipated because of
unexpected safety issues, such as out-of-code electrical wiring, an underrated circuit breaker box,
no fire alarm system, structural issues, and a sagging roof and doorways. The housing official
estimated the house was built in 1978, and said it appeared to have been built in stages because
one side of the house was heated with a propane furnace and the other was heated by electric
baseboards. He said he used his staff, trail personnel (for landscape work), an electrician, and a
seasonal carpenter (former NPS employee) to complete the renovation. The housing official
provided documentation showing that the labor costs for the renovation were $135,192.83 and
the cost of materials was $30,733.07, for a total renovation cost of $165,925.90.

When asked, the housing official told us that the renovations to 45 Kaibab Street impacted his
employees’ ability to work on other houses. He explained that he tried to keep the number of
vacant homes below 35, and that when this renovation was completed, the number of vacant
homes totaled approximately 50. The housing official noted, however, that because of the
number of vacancies and hiring problems at the GRCA, he did not recall employees contacting
him about needing a house during that time.

A GRCA maintenance employee, who worked directly on the housing project, told us that 45
Kaibab Street was “decent” and “livable” before the renovations, but he noted that after the
renovations began, the maintenance crew found structural damage that needed repair. The
maintenance employee said the renovations were needed to replace original work that had been
completed in 1972. The renovations included installing a new kitchen, hardwood floors
throughout the house, new stairs, vanities in two of the three bathrooms, and new toilets and tiles
in all three bathrooms, and replacing the wiring throughout the house. He said the work also
included opening the walls and ceiling in the kitchen, during which they identified and repaired
structural deficiencies. The maintenance employee said all renovations were needed and none
were unusual. He added that the costs were reasonable based on the work performed.

SUBJECT
Christine Lehnertz, Superintendent, Grand Canyon National Park, National Park Service.

DISPOSITION

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.

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Report Fraud, Waste,
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Fraud, waste, and mismanagement in
Government concern everyone: Office
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By Fax: 703-487-5402

By Mail: U.S. Department of the Interior
Office of Inspector General
Mail Stop 4428 MIB

1849 C Street, NW.
Washington, DC 20240

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EXHIBIT G-1
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UNITED STATES DEPARTMENT OF

THE INTERIOR

NATIONAL PARK SERVICE

REPORT OF INVESTIGATION

Investigation conducted by:

The Law Offices of Stuart L. Plotnick
Neil Jacobs - Investigator

51 Monroe Street, Suite 701
Rockville, Maryland 20850
301.251.1286 (phone)

301.762.8539 (fax)

COMPLAINANT’S NAME: Elston L. Stephenson
- COMPLAINT NUMBER: NPS-18-0460

‘This document is for OFFICIAL USE ONLY. Neither it nor its contents are to

be distributed outside of your Agency, nor duplicated, without proper
authorization. You should be advised that any unauthorized use of this
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more favorably than the Complainant under similar circumstances?

Rebuttal:

Once the Complainant has established a prima facie case of discrimination then
management has the burden to articulate a legitimate non-discriminatory reason
for its action,

Pretext:

Once management has articulated a legitimate non-discriminatory reason its
action, then the burden shifts back to the claimant to establish that the agency’s
articulated reason is a pretext for unlawful discrimination.

Defense:

Whether the Agency official(s) responsible for the employment action at issue
articulate a legitimate, non-discriminatory reason (s) for the action at issue.

Pretext:
Whether the articulated reason(s) is pretext for prohibited discrimination.

Ill. DESCRIPTION OF THE INVESTIGATION

Places of Investigation: Grand Canyon, AZ
Dates of Investigation: June 14, 2019

Date ROI Submitted: August 5, 2019
Investigative Method Used: Telephone interviews

IV. BACKGROUND AND SUMMARY OF EVIDENCE

Background

Elston Stephenson (African American) hereafter Complainant, is a Safety Health and
Wellness Manager, grade GS-0018-13, United States Department of the Interior (DOI),
National Park Service (NPS), Grand Canyon National Park, Grand Canyon, AZ. He has
been in his position since June 26, 2017, the same period he has worked for the Agency.
His first level supervisor is Brian Drapeaux, Deputy Superintendent. He has worked for -
Mr. Drapeaux since January 2018. Former Superintendent Christine Lehnertz is
Complainant’s second level supervisor. Complainant worked for Ms. Lehnertz until she
left the Agency in 2019,! ,

Brian Drapeaux (American Indian) responsible management official, is Deputy
Superintendent, United States Department of the Interior (DOI), National Park Service
(NPS), Grand Canyon National Park, Grand Canyon, AZ. He has been in his position

' Numerous efforts were made requesting that Complainant provide testimony including an interview, a
completed and signed affidavit and a rebuttal. To date, no response has been received from Complainant.
Additionally, former Superintendent Christine Lehnertz declined to provide testimony. See Exhibit G-9.
Case 3:19-cv-08268-DLR Document 16-2 Filed 12/02/19 Page 26 of 63 .

since June 2014. Mr. Drapeaux is familiar with Complainant as his first level supervisor .
He is aware from visual observation that Complainant is an African American.

Matthew Vandzura (White) responsible management official, is Chief Ranger, grade
GS-14, United States Department of the Interior (DOI), National Park Service (NPS),
Grand Canyon National Park, Grand Canyon, AZ. He has been in his position since
March 2016, and has worked for the Agency since 1989. Mr. Vandzura is familiar with
Complainant as the Safety Officer at Grand Canyon National Park. He is aware that
Complainant is African American from visual observation of him.

Charles Erikson (Caucasian) witness, is a Visitor Use Assistant; grade GS-5, United
States Department of the Interior (DOI), National Park Service (NPS), Grand Canyon
National Park, Grand Canyon, AZ. He has been in his position since April 2016 and has
worked for the Agency since 2011. Mr. Erikson is aware that Complainant is African
American from visual observation of him.

David Kane (Caucasian) witness, is Chief of Safety, Health and Wellness; grade GS-14,
United States Department of the Interior (DOD, National Park Service (NPS), Grand
Canyon National Park, Grand Canyon, AZ. He has been in his position since August,
2016, and has worked for the Agency since 2008. Mr. Kane is aware of Complainant
being African American from visual observation of him.

Summary

Whether the complainant was subjected to harassment and discriminated
against on the basis of race (African American) when:

1. He was not given a performance appraisal during his entire tenure at
(GRCA (Grand Canyon National Park).

Management Testimony

Mr. Drapeaux states that Complainant was not provided with a performance work plan
prior to the period November 9, 2019 to December 19, 2019. According to Mr.
Drapeaux, former Superintendent Lehnertz wanted to fire Complainant during his
probationary period. He states that she utilized words in describing Complainant that led
him to believe that she was basing her feelings toward him on his race rather than
performance. Mr, Drapeaux states that he did not want to prepare a performance work
plan for Complainant because he believed that Ms. Lehnertz would want material placed
in it that could be used to justify his termination. He states that he himself had filed
several complaints against Ms. Lehnertz. Mr. Drapeaux states that Ms. Lehnertz was
subsequently suspended, and voluntarily resigned from her position last Spring.

Mr. Drapeaux states that Complainant has since requested a performance work plan
and/or appraisal from him both in writing and verbally. He states that he has
attempted to meet with Complainant on multiple occasions to design his performance

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EXHIBIT G-2

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EXHIBIT G-3

E72019 Case 3:19-cv-08268-DLPEPAB BE enTHRANBER Rept a poartesP peste 29 of 63

Stephenson, Elston <elston_stephenson@nps.gov>

Lack of Response

Stephenson, Elston <elston_stephenson@nps.gov> Tue, Nov 26, 2019 at 8:27 AM
To: "Risser, Mary" <mary_risser@nps.gov>
Cc: "Quinn, Sean" <sean_quinn@nps.gov>

Mary,
There are legal issues involved here.
| shared this two weeks ago.

As | am preparing to go to court with the U.S Attorney, EEOC, and DOI legal, there are questions of legal jeopardy---
particularly as most of the witnesses that Quinn shared are implicated in my case(s).

The effort to dupe me 2 weeks ago was noted and a point of these ongoing discussions.
These are matters for legal professionals.

Respectfully, | will not be participating in any 'interviews' until these legal matters are resolved and | am no longer in legal
jeopardy, or compromising my rights.

Thank You.
Sincerely,
Elston

928-255-8727

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Stephenson, Elston <elston_stephenson@nps.gov>

Elston Stephenson Grand Canyon Nat Park Assist: Violation of EEOC and US
Attorney Complaints

Quinn, Sean <sean_quinn@nps.gov> Wed, Nov 13, 2019 at 8:43 AM
To: "Stephenson, Elston" <elston_stephenson@nps.gov>
Cc: whanda.gerardo@eeoc.gov, lucila.rosas@eeoc.gov

Mr. Stephenson,

How did you obtain a copy of the witness list? | am the only person in the park that has a copy of that witness list and |
have not printed any paper copies of it nor | have not shared it with anyone.

As such, if you were able to obtain a copy, then there has been an electronic security breach of some sort and IT will
need to be looped in to investigate how this information was accessed and disseminated to you.

-Sean

[Quoted text hidden]

-Sean Quinn

Employee Relations Specialist

NPS Regional Office Serving interior Regions 6, 7, & 8
928-638-7783
sean_quinn@nps.gov

https://mail.google.com/mail/u/07ik=b7d1a9760e&view=pt&search=all&permmsgid=msg-f%3A 1650 101910868611 787&simpl=msg-f%3A16501019108... 1/1

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EXHIBIT H

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United States Department of the Interior

NATIONAL PARK SERVICE
INTERMOUNTAIN REGION
12795 West Alameda Parkway
PO Box 25287
Denver, Colorado 80225-0287

EN REPLY REFER 10: May 22, 2019
P4217 (IMDE-EEO)

CONFIDENTIAL: TO BE OPENED BY ADDRESSEE ONLY
By U.S. Certified Mail #: N/A

Elston Stephenson
41551] Ventana Drive
Palmdale, California 93551

Mr. Stephenson:

In accordance with Department of Interior regulations, enclosed is a copy of the Report of
Counseling for Equal Employment Opportunity Complaint # NPS-18-0460. This is a report of
inquiry prepared by EEO Counselor Mr. Ron Chen, on behalf of the Intermountain Region, into
the allegations you brought forth on June 11, 2018. This matter is also in relation to your
allegation of a Settlement Agreement breach/non-compliance you brought forth on October 29,
2018 in connection with your original complaint (NPS-18-0460), where the Department of the
Interior ~ Office of Civil Rights ruled that the Agency was in non-compliance of said Settlement
Agreement.

You will receive or may have already received further information from the National Park
Service, Office of Equal Opportunity Programs in Washington, D.C., concerning your formal
complaint of discrimination. In the meantime, you should be aware that the Report of
Counseling may contain information about other individuals that is subject to the non-disclosure
provision of the Privacy Act of 1974 (Public Law 93-579). You must enstire the privacy of those
persons. Violation of the privacy act could result in criminal penalty.

Should you have any questions, please feel free to contact me at 303-969-2598,

Sincerely,

Kecawele 7. Wlaon
Roosevelt T. Wilson
Regional Equal Opportunity Manager

Enclosure: Report of Counseling, w/attachments

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2017. However, Deputy Superintendent Drapeaux said he only became the AP's supervisor at the ( ¥
end of September of 2017.

é oe attributable However, Deputy Supe rapeaux cited an enfalt’from the AP to her S hg \
3 <y dated May 22, 2018 and she replied to it that same day. Deputy Superintendent Drapeaux stated c. \ ‘
z v Superintendent Lehnertz's reply was that the AP needed to submit some references so that the Ae *
Y % 5 Q. documentation would be complete and in order for her to sign the appointment letter. ce x5
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¢ y or d. Evaluation and Appraisal; “ +o
+
=f 1) Deputy Superintendent Drapeaux acknowledged the AP first began working at GRCA in June of ae g 8
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Se
Deputy Superintendent Drapeaux stated the AP first asked for an EPAP (performance appraisal) ¢ r

—~ from him in June of 2018 and not previously. Deputy Superintendent Drapeaux said he had also

¢ 2 provided the AP with performance counseling beginning in October of 2018 and it has been “rp 3
a 2) 2-s> ongoing. 2 AY C
~~ 37 i Pe
LY ¢ 0 @ Issue 2; Whether Complainant was subjected to retaliation for his prior EEO activity when RN
* a he was subjected to an investigation on or about 06/15/18. & tS g
$ > J Deputy Superintendent Drapeaux reiterated he is the AP’s first-line supervisor and that the AP is a ® wes 5
we 8 Ts member of GRCA’s senior executive staff. Deputy Superintedent Drapeaux noted the AP is therefore a wi & &
* 5 .) Part of the management. Deputy Superintendent Drapeaux explained that the senior executive po WE
8 ~Q = management staff is especially sensitive to and proactive in fostering a respectful and, inclusive g é
AY “f workforce and workplace given GRCA's history. Deputy Superintendent Drapeaux stated the ox A g
J N g “\ Management consequently endeavors to be extremely aware of any practices or behavior that might be bre g
¢ t C x construed as antithetical to this. % & 4
c ¥ 5 Rey Superintendent Drapeaux stated it was against this background that he had an informal rae

a ho & discussion with the AP about his behavior towards women in June of 2018, Deputy Superintendent ~ a f

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9 7) 7y Drapeaux said he had at Jeast seven complaints from different women about the AP’s behavior towards ec

= & ~ them going back to September of 2017. Deputy Superintendent Drapeaux stated these complaints have > Vv
~ | JG been ongoing. Deputy Superintendent Drapeaux said that as a supervisor, when he becomes aware of © C
, + “y any employee complaints of potential harassment then it is incumbent upon him to look into them and 5 Vrs
3 x t he did so with each of these complaints. Deputy Superintendent Drapeaux stated none of them t
> ¢ xs , triggered a formal administrative investigation or inquiry. Nonetheless, Deputy Superintendent % .
kg 3 J Drapeaux reported that in looking into these complaints it became apparent that multiple women view s wv
fn q the AP’s behavior towards them as either bullying or treating or regarding them in a subordinate 2.-~“~ é
fc 4 YG manner, Deputy Superintendent Drapeaux said this has been problematic on a few levels. s x” a
Fe W,
Oz) .£ Deputy Superintendent Drapeaux said he did not find the AP’s behavior in each of these instances <* U $ .
} . + warranted disciplining him, but it raised a number of issues that meant he needed to engage in with the res e
vw S J AP in an ongoing dialogue to make him aware of how his behavior is perceived and what he needsto © 3 { !
~ ~F £ do in order to modify it. Deputy Superintendent Drapeaux said there were a number of reasons for this. .e Q + 3
=> Cc
5 ~~ 8 © Deputy Superintendent Drapeaux noted that as a preliminary matter, it is the particular responsibility of  ° & t
t 8 AL the members of GRCA’s senior executive staff, of which the ? is a member, to promote a Po &h = f

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Case 3:19-cv-08268-DLR Document 16-2. Filed 12/02/19 Page 34 of 63

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OFFICE OF
B INSPECTOR GENERAL

U.S.DEPARTMENT OF THE INTERIOR —

UNFOUNDED ALLEGATIONS OF
IMPROPER LEADERSHIP DECISIONS
AND HOSTILE WORK ENVIRONMENT
AT GRAND CANYON NATIONAL PARK

This is a revised version of the report prepared for public release.

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approved leave
The Senior Official Did Not Provide an EPAP for a Subordinate Employee as Requested

The GRCA hired the senior official’s subordinate employee on June 25, 2017, with a l-year
probationary period. The employee initially reported to Lehnertz but was transferred under the
senior official’s supervision in September 2017. Lehnertz said that at that time, she told the
senior official he needed to complete a performance review and create an EPAP for the
subordinate employee.

The DOI Performance Management System (370 DM 430) requires that a supervisor establish a
subordinate’s EPAP within 60 days of the beginning of the appraisal period, the employee’s
entrance on duty, the assignment of an employee to a new position, the assignment of an
employee to a new or different supervisory position, or the assignment of an employee to a detail
or temporary promotion scheduled to exceed 120 days.

Lehnertz said she asked the senior official for a copy of the subordinate employee’s EPAP
during meetings on June 25, 2018, and June 29, 2018, and by email and text message on July 2,
2018. Lehnertz said the senior official responded to each of her requests that he had an EPAP for
the employee.

In the July 2 email, Lehnertz asked the senior official to provide her a copy of the signed EPAP
“first thing this moming.” Lehnertz said the senior official told her he was “working on it,” but
the signed EPAP was not on her desk when she arrived at the office on July 3. Later that day,
Lehnertz asked the senior official again in an email if he had a signed EPAP for the subordinate
employee,

The senior official responded to Lehnertz on July 6, stating, “After further review, I do not have
a signed EPAP [for the employee]. . . . In our discussions, [ was sure that I had one signed... . I
was quite sure | had him sign the EPAP developed. Yes Chris, you did direct me to provide you
a copy of a signed EPAP. My apologies for not complying with your directive.”

On July 10, 2018, Lehnertz emailed an NPS regional manager stating she (Lehnertz) needed to
take a disciplinary action against the senior official because he was not truthful about the signed
EPAP. Later that same day, the senior official emailed the NPS regional manager, stating his
belief that Lehnertz had lost objectivity regarding the subordinate employee.

The NPS regional manager said she talked to the senior official in July 2018 and told him to sign
an EPAP for the subordinate employee immediately and that Lehnertz could hold the senior
official accountable if the subordinate employee did not have a signed EPAP. According to the
NPS regional manager, the senior official never completed the EPAP in response to Lehnertz’
requests.

The Senior Official Did Not Provide Lehnert: Written Progress Reports Regarding a High-
Priority Park Initiative

Lehnertz said developing this high-priority initiative was important not only to the GRCA but

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EXHIBIT |

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United States Department of the Interior
GPFFICE OF THE SECRETARY

Washington, DC 20240

OFFICE OF CIVIL RIGHTS

Elston L. Stephenson,
Complainant,

Agency Case No.: DOI- NPS-18-0460
Vv.

David Bernhardt,

Acting Secretary,

U.S. Department of the Interior,
Agency. :

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AGENCY DECISION ON COMPLIANCE-BREACH OF SETTLEMENT AGREEMENT
ALLEGATION

1. INTRODUCTION

Elston L. Stephenson, Complainant, is employed as a Safety, Health and Wellness Manager, GS-
0018-13, by the United States Department of the Interior (DOI), National Park Service (NPS), at the
Grand Canyon National Park, in Grand Canyon, AZ. On September 13, 2018, and September 18,
2018, the Agency and Complainant executed a Settlement Agreement (SA) resolving the above-
numbered EEO Complaint. The SA became effective on September 25, 2018. (Attachment 1).

In a letter received in the Departmental Office of Civil Rights (OCR) on October 31, 2018,
Complainant alleged that the Agency breached the Scttlement Agreement in the instant case,
specifically Paragraph 19. Complaint requested that his EEO Complaint be reinstated for further
processing from the point at which processing ceased. (Attachment 2).

An Acknowledgment Letter was issued to Complainant by OCR on December 3, 2018, confirming
receipt of Complainant’s Breach of Settlement Agreement Allegation. (Attachment 3). Also on
December 3, 2018, OCR issued a Notice of Agency Non-Compliance Allegation to Rick Frost,
Deputy Regional Director, Inter-Mountain Region, NPS (the authorized representative who signed the —
SA on behalf of the Agency), requesting a Response and any supporting documentation. (Attachment
4).

Management's Response to Notice of Agency Non-Compliance Allegation was received in OCR on
December 18, 2018. (Attachment 5). The record also includes an e-mail, dated October 25, 2018,

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from Rick Frost to Complainant, accompanied by a copy of a signature page from the COOP, with an
a signature and approval date of October 23, 2018. (Attachment 6).

On December 22, 2018, OCR Employees were furloughed due to a Partial Government Shutdown,
which lasted until January 25, 2019. OCR Employees retumed to duty on January 28, 2019, the first
workday following termination of the furlough.

The Agency is taking final action on this Alleged Breach of Settlement Claim by issuing this Decision
in accordance with the Equal Employment Opportunity Commission’s (Commission, EEOC)
regulation at 29 C.F.R.§ 1614.504, The following analysis and findings represent the final decision of
the Agency.

Il. ANALYSIS METHODOLOGY

The EEOC’s regulation, at 29 C.F.R. § 1614.504, provides that if the complainant believes that
the agency failed to comply with the terms of a settlement agreement, the complainant should
notify the director of the Equal Employment Opportunity Office, in writing, of the alleged
noncompliance with the settlement agreement, within thirty (30) days of when the complainant
knew or should have known of the alleged noncompliance. The complainant may request that
the terms of the settlement agreement be specifically implemented or, alternately, that the
complaint be reinstated for further processing from the point at which processing ceased. The
agency shall resolve the matter and respond to the complainant, in writing. If the agency has not
responded to the complainant, in writing, or the complainant is not satisfied with the agency’s
attempt to resolve the matter, the complainant may appeal to the Commission for a determination
as to whether the agency has complied with the terms of the settlement agreement or the final
decision.

Additionally, 29 C.F.R. § 1614.504(a) provides that any settlement agreement knowingly and
voluntarily agreed to by the parties, reached at any stage of the complaint process, shall be
binding on both parties. -

The Commission has held that a settlement agreement constitutes a contract between the
employee and the Agency, to which ordinary rules of contract construction apply. See
Herrington v. Dep't of Def., EEOC Request No. 05960032 (December 9, 1996). The
Commission has further held that it is the intent of the parties as expressed in the contract, not
some unexpressed intention, that controls the contract's construction. Eggleston v. Dep't of
Veterans Affairs, EEOC Request No. 05900795 (August 23, 1990). In ascertaining the intent of
the parties with regard to the terms of a settlement agreement, the Commission has generally
relied on the Plain Meaning Rule. See Hyon O v. U.S. Postal Serv., EEOC Request No.
05910787 (December 2, 1991). This rule states that if the writing appears to be plain and
unambiguous on its face, its meaning must be determined from the four corners of the instrument
without resort to extrinsic evidence of any nature. See Montgomery Elevator Co. v. Building
Eng'g Servs. Co., 730 F.2d 377 (Sth Cir. 1984).

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Additionally, the Commission has stated that it is “not generally concerned with the adequacy or
fairness of the consideration in a settlement agreement, as long as some legal detriment is
incurred as part of the bargain.” See Terracina v. Dep't of Health & Human Services, EEOC
Request No. 05910888 (March 11, 1992), When, however, one of the contracting parties incurs
no legal detriment, the settlement agreement will be set aside for lack of consideration. See
Morita v. Dep't of the Air Force, EEOC Request No. 05960450 (Dec. 12, 1997).

Finally, the EEOC’s Regulation at 29 C.F.R. § 1614.504 (c) provides that allegations that subsequent
acts of discrimination violate a settlement agreement shall be processed as separate complaints under
29 C.F.R. §1614.106 or 29 C.F.R. §1614.204, as appropriate, rather than under this section.

III. DISCUSSION AND ANALYSIS
Complainant submitted a letter, received in OCR on October 31, 2018, alleging as follows:

1. The Department of the Interior (Agency) has violated-is in Non-Compliance with

Clause 19 of the Mediation Settlement Agreement.

2. Per Clause 19, “The Agency agrees that the [Grand Canyon National Park (GRCA)]
Superintendent will designate as an essential position the Safety, Health, and Wellness
Manager in the Continuity of Operations Plan [COOP] no later than September 30,
2018.”

3. Agency failed to do this by the September 30, 2018 deadline. As of this writing,
Agency has still failed to comply with Clause 19.

4. Further, Agency attempted to fraudulently knowingly and wittingly dupe the
Complainant into believing that it had complied with Clause 19 with portrayals, when it
had not.

5. The text of the COOP document makes no mention of the Safety Health and Wellness
Manager designated as essential position. Nor is it treated equally to other positions in
the document (e.g. Public Information Officer, Liaison, Logistics Section Chief, etc.) .
Although "Safety" is inserted 3 times in the document, this does not constitute
“designating” the Safety Health and Wellness Manager as “essential.”

6. Most importantly, the document is never signed by the GRCA Superintendent-a
requirement for the document to be in full effect.

7. The document is 130 pages. Please receive the Page 4 Review and Approval (scanned
October 1, 2018) with the Superintendent's required signature notably missing.

8. Please receive Page 6 of the Table of Contents with the Safety Health and Wellness
Manager position notably missing.

9. Please note that there is no document designating the Safety Health and Wellness
Manager as "essential" because none was ever produced by Agency. (Attachment 2).

The Agency responded to Complainant’s allegation as follows:

1. Pursuant to the agreement, the Superintendent’s office at Grand Canyon National Park
directed its chief ranger to update the COOP plan to reflect this part of the agreement.

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2. On pages 11 and 12 of the updated plan there are three references to the park safety
officer being part of the Continuity of Operations Incident Management Team (IMT).

3. The COOP document states that the park has identified key personnel that will be

required to provide direction and technical expertise for the reinstatement of critical
and normal business functions.

4. Inthe eyes of the agency key personnel are all essential positions in an IMT.

5. The document goes on to list “The positions that will be staffed when fully activated.”
Among those key positions is the park safety officer.

6. Itis the intention of the agency that the park safety officer is the park Safety, Health
and Wellness Manager.

7. The safety officer is identified in three places in the document as a key person on the
COOP IMT team: .

8. The position is part of a list of key personnel: it is located on an organizational chart of
key personnel: and it is listed in Figure 2 on page 12 as one of the key personnel. I
have attached the relevant pages of the plan with this letter. _

9. The plan was signed by both Deputy Superintendents at Grand Canyon on September
28, 2018.

10. The superintendent was not in the park at that time. Due to the absence of the
superintendent from the office for an extended period of time, one of the acting deputy
superintendents, Brian Drapeaux, signed the document as acting superintendent on Oct.
23, 2018. I have attached that signature page to this letter as well. (Attachment 5).

In determining whether the Agency breached the Settlement Agreement, we must first determine
whether the Settlement Agreement is governed by the aforementioned plain meaning rule. See
Hyon O vy. U.S. Postal Serv., EEOC Request No. 05910787 (December 2, 1991). As indicated in
the Analysis Methodology Section (II) of this Decision, the plain meaning rule states that if the
writing appears to be plain and unambiguous on its face, its meaning must be determined from
the four corners of the instrument without resort to extrinsic evidence of any nature. See
Montgomery Elevator Co. v. Building Eng’g Servs. Co., 730 F.2d 377 (Sth Cir. 1984).

In reviewing the Settlement Agreement (Attachment 1), I discovered the following four (4)
provisions pertinent to this matter:

1. Effective Date. This Settlement Agreement shall become effective as of the date the
Agreement is signed by all parties and after expiration of the revocation period as outlined in
Paragraph 6 of this Agreement. |

2. Effect of Signatures. The signatures affixed to this Settlement Agreement establish that
Complainant and the Department of the Interior (a) have read this entire document,

(b) have knowingly, voluntarily, and in good faith entered into this Settlement Agreement, (c) have
not been induced by or through fraud, misrepresentation, duress, threat, or coercion, (d) fully

1 Paragraph 6 permits Complainant to revoke the SA, “no later than seven (7) days following the date on which
he signs this Settlement Agreement’

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understand all terms and conditions described in this Settlement Agreement, (e) agree with all
terms and conditions described in this Settlement Agreement, and (f) agree to satisfy and perform,
in good faith, the terms and conditions described in this Settlement Agreement.

15. Process Related to Allegations of Agency Non-Compliance. Complainant and the Agency
enter into this Settlement Agreement consistent with and guided by the authority contained in
29 C.F.R. §§ 1614,504 and 1614.603, and agree that the terms of this Settlement Agreement shall
bind Complainant, the Agency, their respective employees, officials, agents, representatives,
successors, and assigns. If Complainant believes that the Agency has failed to comply with the

~ terms of this Settlement Agreement, he shall, in accordance with 29 C.F.R. § 1614.504(a), provide
written notice to the Department's Director of the Office of Civil Rights, U.S. Department of the
Interior, of the alleged noncompliance within thirty (30) days of the date on which he knew or
should have known of the alleged noncompliance. Complainant may request (a) that the terms of
the Settlement Agreement be specifically implemented, or (b) that the Complaint be reinstated for
further processing from the point at which processing ceased. Complainant agrees that ifhe elects
to reinstate the Complaint from the point at which processing ceased, he shall return to the Agency,
within thirty (30) days of reinstatement of the Complaint, all benefits and consideration which he
received pursuant to the terms and conditions of this Settlement Agreement. |

19, The Agency agrees that the Superintendent will designate as an essential position the Safety,
Health and Wellness Manager in the Continuity of Operations Plan (COOP) no later than
September 30, 2018.

I find that the Settlement Agreement, signed by the Agency on September 13, 2018, and Complainant
on September 18, 2018, is clear and unambiguous, and subject to the application of the plain meaning
rule. Since the Settlement Agreement is plain and unambiguous on its face, its meaning must be
determined from the four corners of the Settlement Agreement without resort to extrinsic evidence of
any nature. I will determine the parties’ intention from the Settlement Agreement alone.

Meanwhile, in the Settlement Agreement, Complainant and the Agency agreed, among other terms, to
the four (4) aforementioned Terms and Conditions. Those aforementioned Terms and Conditions
clearly demonstrate the clear and unambiguous nature of the Settlement Agreement.

Following a thorough review of the record in this matter, I find the following:

A. Pursuant to Paragraphs | and 6 of the instant Settlement Agreement, it became
effective September 25, 2018, following expiration of a seven (7)-day revocation
period after the date Complainant signed the SA (September 18, 2018).

B. Paragraph 15 required Complainant to submit to the Agency, written notification
of noncompliance within 30 days of the date on which Complainant knew or
should have known of the alleged noncompliance.

C. Complainant complied with Paragraph 15, and timely submitted to the
Departmental Office of Civil Rights, Complainant’s Notice of Agency
Noncompliance with the SA.

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D. Paragraph 19 required the Superintendent, Grand Canyon National Park (GRCA)
to designate, as an essential position the Safety, Health and Wellness Manager
in the Continuity of Operations Plan (COOP) no later than September 30, 2018.
E. The Agency failed to timely comply with Paragraph 19 of the SA by September
30, 2018 as follows:

1.

While the Agency agreed to designate Complainant’s position Safety,
Health and Wellness Manager, as “essential” in the COOP, the
Superintendent, Grand Canyon National Park failed to do so, and
provided no evidence of such inclusion.

The Agency’s use of the term Safety Officer in three (3) locations of the
COOP did not constuitute designation of Complainant’s position, Safety,
Health and Wellness Manager as “essential” in the COOP.

The Agency’s submission of a signature page (Review and Approval)
from the COOP to Complainant as proof of compliance with Paragraph

19 can best be described as bad faith based on the following:

a. The Review and Approval page contained purported signatures
of the Chief Ranger (9/2//18); Deputy Superintendent
Operations (9/28/18); and Deputy Superintendent Business
(9/28/18), recommending the COOP for approval by the
Superintendent, GRCA. .

b. The Review and Approval page in question lacked the signature
of the Superintendent, GRCA.

Following Complainant’s expression of displeasure with the lack of
compliance to Management, the Agency produced a second Review and
Approval page containing the signature of the Deputy Superintendent
Business, supposedly approving the COOP on behalf of the

Superintendent, GRCA, on October 23, 2018.

The supposed approval by the Deputy Superintendent Business, who
recommended approval on September 28, 2018, is highly questionable,
since he initially recommended approval, then subsequently approved
the COOP. .
Management’s Response to Complainant’s Noncompliance Allegation
included the statement, “In the eyes of the agency key personnel are all
essential positions in an IMT.” This statement ignores the fact that the
Agency agreed to to designate, as an essential position the Safety,
Health and Weliness Manager in the Continuity of Operations Plan

(COOP) no later than September 30, 2018.

Management’s claim, /t is the intention of the agency that the park
safety officer is the park Safety, Health and Wellness Manager does not
absolve the Agency from its obligligation to comply with Paragraph 19
of the SA.

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IV. CONCLUSION

After analyzing the entire record and applying the aforementioned legal standards, we find that the
Agency failed to comply with the Settlement Agreement, specifically Paragraph 19, as alleged in
Complainant’s Allegation of Agency Non-Compliance. The Agency is ordered to process
Complainant’s EEO Complaint in accordance with 29 C.F.R. Part 1614, from the point processing
ceased,

The Agency shall acknowledge to Complainant within thirty (30) calendar days of the date this
decision was issued, that the complaint in question has been reinstated and is being processed.
Complainant must return to the Agency, within thirty (30) calendar days of reinstatement of his
complaint, all benefits and consideration which he received pursuant to the terms and conditions of the
Settlement Agreement. The Agency shall submit to OCR a Compliance Report within thirty (30) days
of the issuance of this Decision, confirming compliance with this Decision.

This is the United States Department of the Interior’s Final Decision on Compliance, and the final
action in this matter. If the Complainant is dissatisfied with this action, he has the following appeal

rights,
APPEAL RIGHTS TO THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

29 C.F.R. §1614.402(a) provides that an appeal of the agency’s final decision to the Equal
Employment Opportunity Commission (EEOC) must be filed by an appellant within thirty (30) days
of receipt of an agency’s or Administrative Judge’s dismissal, final action, or decision. If the
appellant is represented by an attomey of record, the 30-day time limit shall begin to run from the date
of receipt by the attomey of the notice of dismissal, final action, or final decision without a hearing.
All such appeals must be filed with the EEOC (Commission) at the following address:

Equal Employment Opportunity Commission |
Office of Federal Operations

P.O. Box 77960

Washington, D.C. 20013

As an alternative to mailing, appeals may be hand-delivered to:

Equal Employment Opportunity Commission
Office of Federal Operations

131 M Street, N.E., Fifth Floor

Washington, D.C. 20507

Asa further alternative, appeals that are 10 pages or less may be sent by facsimile fax to: (202) 663-
7022. The appeal shall be deemed filed on the day it is postmarked, or in the absence of a postmark,
on the date it is received by the EEOC.

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Complainant shall furnish a copy of the appeal to the agency at the same time it is filed with the
Commission at the address below:

U.S. Department of the Interior

Office of Civil Rights

Tanisha M. Edmonds, Esq., Acting Director
1849 C Street, N.W., Suite 4353
Washington, D.C. 20240 |

In or attached to the appeal to the Commission, the Appellant must certify the date and method by
which service was made to the opposing party. The Appellant should use EEOC Form 573, Notice of
Appeal/Petition (copy enclosed).

If the appeal is not filed within the thirty (30)-calendar day time limit, the appeal may be dismissed by
the EEOC. However, the EEOC may, at its discretion, extend the time limits and accept the appeal
based upon a written statement that there was no actual notification of the time limit, or that a timely
Notice of Appeal could not be filed, due to extenuating circumstances.

Any statement or brief in support of the appeal must be submitted to the EEOC within 30-calendar
days of filing of the Notice of Appeal. The EEOC, Office of Federal Operations, accepts statements
or briefs in support of appeals by facsimile transmittal, provided that they are not more than ten (10)
pages long. Any statement or brief in opposition to the appeal must be submitted to the EEOC and
served on the Appellant (or the attorney of record, if represented by an attorney) within 30-calendar
days of receipt of the statement or brief supporting the appeal, or if no statement or brief supporting
the appeal has been filed, within sixty (60) days of receipt of the appeal.

It is the responsibility of the U.S. Department of the Interior to submit the entire complaint file to the
EEOC, Office of Federal Operations, within 30-calendar days of initial notification that an appeal has
been filed.

CIVIL ACTIONS

In lieu of an appeal to the Commission, you may file a civil action in an appropriate United States
District Court within 90 calendar days of receipt of the final decision.

If you file an appeal with the Commission, and you are not satisfied with the Commission's decision,
you may file a civil action in a United States District Court within 90 calendar days of receipt of the
Commission's final decision.

You may also file a civil action any time after 180 calendar days from the date of filing an appeal with
the Commission, if there has been no final decision by the Commission. If you decide to file a civil
action and are unable to afford Counsel, the Civil Rights Act gives the Court discretionary authority to
appoint Counsel without payment of fees or costs by you. The granting or denial of your request is

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within the sole discretion of the Court. Your request and the civil action must be filed within 90 days
of the date the final decision is received.

If you file a civil action involving this complaint, you must specifically name the Acting Secretary

of the Department of the Interior, David Bernhardt, as Defendant, Failure to do so may result in
the loss of any judicial redress to which you may be entitled.

It is important to note that 29 C.F.R. §1614.409 states, “Filing of a civil action under §1614.408 or
§1614.409 shall terminate Commission’s processing of the appeal. If private suit is filed subsequent
to the filing of an appeal, the parties are requested to notify the Commission in writing.”

Make | PO GOAZ

Tanisha M. Edmonds, Esq. Déte

Acting Director
Office of Civil Rights

Attachments:

1. Settlement Agreement Signed September 13, 2018 (Agency), and September 18, 2018

(Complainant)

Complainant’s Letter Alleging Breach of Settlement Agreement, Received October 31, 2018

Acknowledgment Letter Issued to Complainant by OCR, December 3, 2018

Notice of Agency Non-Compliance Allegation, Dated December 3, 2018. to Agency

Management Official

5, Management's Response to Notice of Agency Non-Compliance Allegation, Received in OCR
December 18, 2018

6. E-mail from Rick Frost to Complainant, Dated October 25, 2018, and Copy of Signed Review
And Approval Page of COOP

RwN

Enclosure: EEOC Appeal Form

ce:

Complainant: Elston L. Stephenson, 41551 Ventana Drive, Palmdale, CA 93551; Certified
Mail Number (9414 7266 9904 2969 6702 75)

Rose Blankenship, EEO Officer, National Park Service (Inter-Office Mail)

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EXHIBIT J

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° 712812019 DEPARTMENT OF THE INTERIOR Mail - Follow-Up Grand Canyon Nat Park Citation 1363108

Stephenson, Elston <elston_stephenson@nps.gov>

Follow-Up Grand Canyon Nat Park Citation 1363108
Stephenson, Elston <elston_stephenson@nps.gov>itsti(‘i‘é~;!!O~CT lt, 2019 A BIZ AM
To: "Barnett, Zachary - OSHA” <barnett.zachary@dol.gov>

Zach,

Good Morning & Belated Happy 4th!

Would it be possible to forward the Employer Grand Canyon National Park ‘response’ to Citation 1363108.

Although | made recommendations; | was not included in ‘the GRCA/IMR/NPS huddle' for the final 1903,19 response
{Abatement Certification, Documentation, or Plans).

As both the Complainant and the GRCA Safety Officer, would it be possible to forward GRCA's response to Citation
1363708.

Thank You,

Sincerely,

Swede

Elston L Stephenson, OHST,
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

httos://mail.google.com/maillu/O7ik=b7d1a9760eaviow=pt&search=all& permmsgid=msg-a %3Ar-4444299322809728622&simpl=msg-a%dAr-4444299,,. 1/41

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7/25/2019 DEPARTMENT OF THE INTERIOR Mail - [EXTERNAL] Employer response to Grand Canyon

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oN seus

Stephenson, Elston <elston_stephenson@nps.gov>

[EXTERNAL] Employer response to Grand Canyon
Barnett, Zachary - OSHA <Barnett.Zachary@dol.gov> Mon, Jul 19, 2019 at 1:36 PM
To: "Stephenson, Elston (elston_stephenson@nps.gov)" <elston_stephenson@nps.gov>

Hi Swede,

This is the only response information | have from the Grand Ganyon regarding the Notices issued,

a) Grand Canyon employer response.pdf
707K

https://mait.google.com/mail/u/07ik=b7d 1a9760e&view=pt&search=all&permmsgid=msg-f%3A 1639 158147910667 520&simpl=msg-f%3A16391581479... 1/1
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United States Department of the Interior

NATIONAL PARK SERVICE

we : GRAND CANYON NATIONAL PARK
‘ y* P.O. BOX 129

GRAND CANYON, AZ 86023

Ren 3, 8°

IN REPLY AEPER TO

10.C (8211)
JUN 19 2019

T. Zachary Barnett, Area Director

U.S. Department of Labor

Occupational Safety and Health Administration
230 N I" Avenue

Suite 202

Phoenix AZ 85003

Re: inspection Number 1363108

TPP ¢

Dear Mr. Barnett,

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ier Uy

During an inspection on November 28, 2018, your staff identified three corrective actions that required
Grand Canyon National Park (GRCA) to address. This lever also notifies you that the Park posted the
Notice in prominent places throughout our buildings, including the park museum collection building.

h

This letter serves as our abatement certification that Notice | Items 2 & 3. On Friday June [4, 2019
GRCA provided training to 39 staff members who have roles associated with preservation of museum
collections and exhibits but also included park leadership, supervisors, and emergency first responders,
This training included HAZCOM, HAZMAT, Safe Walking, Working Surfaces and Emergency Egress
and additional Supervisors Addinonal Training covered Accident Reporting: NPS Safety Maiiawenent
Information Systeny and the Worker's Compensation Programm.

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Grand Canyon National Park is planning to provide similar training to all park personnel within the next
year and commits to continuing training into the fiture. This will include 4 to 5 more mandatory trainings
before December 31". 2019 to reach all employees. Attached ts the Certification of Corrective Action
Worksheet.

OSHA-PHOENIX

If you have any questions please feel free to contact me directly, or Brian Drapeaux at 928-638-7903, <<
SS
Sincerely, b 8 S
Uatalty yn WU 3 x
Woody Smepk —~ > S
Acting Superintendent oD
¢ p Poe gS
RECEIVED 4 2 ~
JUN 2.1 onta Conley
co 8
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CERTIFICATION OF CORRECTIVE ACTION WORKSHEET ~ FEDERAL AGENCIES f~

e
Inspection Number: 1363108 n
Agency Name: National Park Service, dba Grand Canyon National Park Cx

Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023 a Tw
Issuance Date: 05/22/2019 Sos
&-

read “Corrected During Inspection” and return to: U.S, Department of Labor - Occupational Safety and

Employer Instruction: List the specific method of correction for each item on the enclosed notices that does not o
>
Health Administration, 230 N Ist Avenue, Suite 202, Phoenix, AZ 85003, Failure to submit a timely

certification of corrective action may result in a notification to your agency DASHO. ap
Notice Number and Item Number ee was corrected on f , Y / 19 >

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I certify that the information contained in this document is accurate and that the affected employces and their
representatives have been informed of the abatement.

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Signature | Date

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NOTE: 29 USC 666(g) whoever knowingly makes any false statements, representation or certification in any oN 2abrecory, plan or
other documents filed or required to be maintained pursuant to the Act shall, upon conviction, be punished by a fine of not more than

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POSTING: A copy of completed Corrective Action Worksheet should be posted for employee review,

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Notice af Unsafe and Unteakhful Working Conditions Page 5 of 8 GSHA-2H
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U.S. Department of Labor
Occupational Safety and Health Administration
230 N ist Avenue

Suite 202

Phoenix, AZ 85003

Notice of Unsafe or Unhealthful Working Conditions

To: Inspection Number: 1363108

National Park Service, dba Grand Canyon National Inspection Date(s): 11/28/2018 -

Park Issuance Date: 05/22/2019

PO Box 129

Grand Canyon, AZ 86023

Inspection Site: The violation(s) described in this Notice is (are) __

2C Albright Ave alleged to have occurred on or about the day(s) the
Grand Canyon, AZ 86023 inspection was made unless otherwise indicated. within:

ithe description Even below

This Notice of Unsafe and Unhealthful Working Conditions (Notice) describes violations of the Occupational
Safety and Health Act of 1970, the Executive Order 12196, and 29 CFR 1960, Basic Program Elements for
Federal Employee Occupational Safety and Health Programs and Related Matters. You must abate the violations
referred to in this Notice by the dates listed unless, within 15 working days (excluding weekends and Federal
holidays) fram your receipt of this Notice you request an Informal Conference with the US Department of Labor
OSHA Area Office at the address shown above, Please refer to the enclosed publication “Federal Employer
Rights and Responsibilities Following an OSHA Inspection” which outlines the appeals procedure for this
Notice and which should be read in conjunction with this form. If you have any questions please contact this
office at 602-514-7250

Posting - The law requires that a copy of this Notice be posted immediately in a prominent place at or near the
location of the violation(s) cited herein, or, if it is not practicable because the nature of the employer's operations,
where it will be readily observable by all affected employees, This Notice must remain posted until the
violation(s) cited herein has (have) been abated, or for 3 working days (excluding weekends and Federal!
holidays), whichever is longer.

Notification of Corrective Action — For each violation which you do not appeal, you must provide abatement
certification to the Area Director of the OSHA office issuing the Notice and identified above. This abaternent
certification is to be provided by letter within 10 calendar days after each abatement date. Abatement
certification includes the date and method of abatement. If the Notice indicates thal the violation was corrected

Notice of Unsafe and Unhvalthfal Working Conditions Poge tof 8 Oe OS OSHA.2H

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during the inspection, no abatement certification is required for that item. The abatement certification letter must
be posted at the location where the violation appeared and the corrective action took place or employees must
otherwise be effectively informed about abatement activities, A template abatement certification letter is
enclosed with this Notice. In addition, where the Notice indicates that abatement documentation is required,
evidence of the purchase or repair of equipment, photographs or video, receipts, training records, etc., verifying
that abatement has occurred is required to be provided to the Area Director.

Program Responsibilities - Section 19(a)(1) of the OSH Act requires the head of each Federal agency to
comply with applicable occupational safely and health standards. The intent of this section and Executive Order
12196 is implemented through 29 CFR 1960.8(b). If you are cited for violations of applicable safety and health
standards, you have also violated the program element 29 CFR 1960.8(b), which stipulates:

“The head of each agency shall comply with the Occupational Safety and Health Administration standards
applicable to the agency."

informal Conference — An informal conference is not required, However, if you wish to have such a conference
you may request one with the Area Director within 15 working days after receipt of this Notice. As soon as the
time, date, and place of the informal conference have been determined please complete the enclosed “Notice to
Employees” and post it where the Nolice is posted. During such an informal conference you may present any
evidence or views you believe would support an adjustment to the Notice. In addition, bring to the conference
any and all supporting documentation of existing conditions as well as any abatement steps taken thus far.

If you are considering a request for an informal conference to discuss any issues related to the Notice, you must
take care to schedule it early enough to allow time to appeal after the informal conference should you decide to
do so. Please keep in mind that a written lelter of intent to appeal must be submitted by the Agency’s Nalional
OSH Manager to the OSHA Area Director within 15 business days of your receipt of the OSHA Notice to
request that OSHA’s Regional Administrator review the case.

inspection Activity Data ~ You should be aware that OSHA publishes information on its inspection and notice
activity on the Internet under the provisions of the Electronic Freedom of Information Act. The information
related to these alleged violations will be posted when our system indicates that you have received this notice.
You are encouraged to review the information concerning your establishment at www.OSHA. pov. If you have
any dispute with the accuracy of the information displayed, please contact this office.

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U.S. Department of Labor
Occupational Safety and Health Administration

NOTICE TO EMPLOYEES

An informal conference has been scheduled with the Occupational Safety and Health
Administration (OSHA) to discuss the Notice of Unsafe or Unhealthful Working Conditions
(Notice) issued on 05/22/2019. The conference will be held by telephone or at the OSHA office

located at 230 N Ist Avenue, Suite 202, Phoenix, AZ 85003 on at

. Employees and/or representatives of employees have a right to attend an

informal conference.

Notice of Unsafe and Unhealthful Working Conditions . Page 4 of 8 OSHA-2H
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CERTIFICATION OF CORRECTIVE ACTION WORKSHEET ~ FEDERAL AGENCIES

Inspection Number: 1363108

Agency Name: National Park Service, dba Grand Canyon National Park
Inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

Issuance Date: 05/22/2019

Employer Instruction: List the specific method of correction for each item on the enclosed notices that does not
read “Corrected During Inspection” and return to: U.S, Department of Labor —- Occupational Safety and
Health Administration, 230 N Ist Avenue, Suite 202, Phoenix, AZ 85003. Failure to submit a timely
certification of corrective action may result in a notification to your agency DASHO.

Notice Number . and Item Number ss was corrected on
By (Method of Abatement):

Notice Number _ anditem Number —s—_s was corrected on
By (Method of Abalement):

Notice Number __. and Item Number ss was corrected on
By (Method of Abatement):

Notice Number and ftem Number ss was corrected on
By (Method of Abatement):

Notice Number and Item Number =——_s was corrected on
By (Method of Abatement):
Notice Number and item Number ss was corrected on

By (Method of Abatement):

1 certify that the information contained in this document is accurate and that the affected employees and their
representatives have been informed of the abatement.

Signature Date

Title

NOTE: 29 USC 666(g) whoever knowingly mokes any false statements, representation or cenification in any application, record, plan or
other documents filed or required to be maintained pursuant to the Act shall, upon conviction, be punished by a fine of not more than
$10,000 or by imprisonment of not mare than 6 months.or both.

POSTING: A copy of completed Corrective Action Worksliect should be posted for emplayee review,

Notice of Unsafe ond Unthealthful Working Conditions Page 5 of 8 OSHA-2H .

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U.S. Department of Labor Inspection Number: 1363108

Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 -
Issuance Date: 05/22/2019

Notice of Unsafe and Unhealthful Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice | Item! Type of Violation: Serious

29 CFR 1960.25(c): The Agency did not inspect annually, all areas in each workplace, including office
operations:

a) MUSEUM COLLECTIONS BUILDING AND Throughout the Entire Park: Annual inspections for
the identification of safety and health hazards were not conducted since 2014. Employees were
routinely exposed to the potential chemical and physical hazards associated with ingestion and
inhalation when handling uranium core samples; and biological specimens and historical artifacts
coated with preservatives to prevent deterioration.

ABATEMENT DOCUMENTATION REQUIRED FOR THIS ITEM

Date by which Violation must be Abated: 07/10/2019

Sce Pages t through 3 of this Notice for information on employer and employee rights and responsibilities.
Notice of Unsafe and Unhcatthful Working Condtions Page 6 of 8 OSHA-2H
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U.S. Department of Labor Inspection Number: 1363108

Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 -
Issuance Date: 05/22/2019

Notice of Unsafe and Unhealthful Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice] Item2 Type of Violation: Serious
29 CFR 1960.55(a): The Agency did not provide safety and health training for supervisory employees:

a) Museum Collection Building and throughout the Park; Supervisors and employees in the
Museum Collection Building and other areas throughout the park were responsible for the collection,
storage, and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including its geology, veyetation, habitation, and cultural history. The supervisor oversaw employees
working with uranium core samples, biological specimens, and historical artifacts coated with
preservatives to prevent deterioration while performing inventory and display/presentation set up, and
when those materials were used for research purposes. Employees had potential exposure to chemical
hazards such as uranium core samples, radon, cellulose nitrate film, and biological specimens preserved
with arsenic, cyanide of mercury, naphthalene, 1,4-dichlorobenzene and other chemicals, as well as
physical hazards such as slips, trips, falls, struck by hazards, and heat exposure. Despite the numerous
potential exposures, supervisors did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/18/2019

Sce Pages } through 3 of this Notice for information an employer and employce rights and responsibilities .
Notice of Unsafe amd Unhealthful Working Conditions Page 7 of B OSHA-2H

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U.S. Department of Labor Anspection Number: 1363108
Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 - Ww
Issuance Date: 05/22/2019 Eg

Notice of Unsafe and Unhealthful Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice 1 Item 3 Type of Violation: Serious

29 CFR 1960.59(a): The Agency did not provide appropriate safety and health training for employees:

a) MUSEUM COLLECTIONS BUILDING and throughout the Park: Employees in the Museum
Collection Building and other areas throughout the park were responsible for the collection, storage,
and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including its geology, vegetation, habitation, and cultural history. Employees worked with uranium core
samples, biological specimens, and historical artifacts coated with preservatives to prevent
deterioration while performing inventory and display’presentation set up, and when those materials
were used for research purposes. Employees had potential exposure to chemical hazards such as
uranium core samples, radon, cellulose nitrate film, and biological specimens preserved with arsenic,
cyanide of mercury, naphthalene, | ,4-dichlorobenzene and other chemicals, as well as physical hazards
such as slips, trips, falls, struck by hazards, and heat exposure, Despite the numerous potential
exposures, employees did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/1

2019

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Bzachary Barnett |

Area Director

Sce Pages { through 3 of this Notice for information on employer and employee rights and respansibilitics
Notice of Unsafe and Unhealihful Working Conditions Page 8 of 8 OSHA-2H
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Federal Employer Rights and Responsibilities
Following an OSHA Inspection-1996

After an Inspection

An Inspection of your workplace was conducted In accordance with the Occupational Safety and Health
Act of 1970, Executive Order 12196, and 29 CFR Part 1960, Basic Program Elements for Federat
Employee Occupational Safety and Health Programs and Related Matters, The compliance safety and
health officer (CSHO) who conducted the Inspection has found conditions that are in violation of the Act,
Executive Order 12196, or 29 CFR Part 1960, and you have been issued a Notice of Unsafe or Unhealthful
Working Conditions, OSHA-2H Form (OSHA Notice) that explains in detail the exact nature of the alleged
violation(s).

This pamphlet contains important information regarding your rights and responsibilities under the Act,
Executive Order 12196, and 29 CFR Part 1960. For each apparent violation found during the inspection,
the compliance officer discussed the following with you:

» The nature of the violation,
» Possible abatement measures you may take to correct the violative condition, and
«Possible abatement dates you may be required to meet. ©

Types of Violations

2 WILLFUL: A willful violation Is defined as a violation in which the employer either knowingly falled to
comply with a legal requirement (purposeful disregard) or acted with plain indifference to employee
safety.

« SERIOUS: A serious violation exists when the workplace hazard could cause an accident or illness
that would most likely result in death or serious physical harm, unless the employer did not know or
could not have known of the violation.

* REPEATED: A Federal agency may be cited for a repeated violation If the agency has been cited
previously for the same or a substantially similar condition and, for a serious violation, OSHA's
regionwide (see last page) Inspection history for the agency lists a previous OSHA Notice issued
within the past five years; or, for an other-than-serlous violation, the establishment being Inspected
received a previous OSHA Natice issued within the past five years.

* OTHER-THAN-SERIOUS: A violation that has a direct relationship to job safety and health, but fs
not serious In nature, Is classified as “other-than-serious."

Posting Requirements

When you receive an OSHA Notice, you must post it (or a copy of it) at or near the place where each
violation occurred to make employees aware of the hazards to which they may be exposed. The OSHA
Notice must remain posted far 3 working days or until the hazard is abated, whichever is longer.
(Saturdays, Sundays and Federal holidays are not counted as working days).

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Employer Options

As an employer who has been cited, you may:

» Correct the condition by the date set in the OSHA Notice and/or,
a Request an Informal Conference within 15 working days from the time you received the OSHA Notice
with the OSHA Area Director to discuss the violations and/or the abatement dates.

How to Comply

For violations cited in the OSHA Notice, you must promptly natify the OSHA Area Director by letter that —
you have taken the appropriate corrective action within the time set forth in the OSHA Notice, The
notification you send the Area Director is generally referred to as a LETTER OF CORRECTIVE ACTION. It
must explain the specific action taken with regard to the violation and state the date each corrective
action was taken.

If you have abatement questions after the inspection, they should be discussed with the Area Director in
the informal conference.

When the OSHA Notice permits an extended period of time for abatement, you must Insure that
employees are adequately protected during this time. If this Is the case, you must provide OSHA with a
periodic progress report on your actions taken In the interim.

Informal Conference

You may request an informal conference with the OSHA Area Director to discuss the violations. You may
use this opportunity to do any of the following:

» Obtain a better explanation for the violations cited.

» Obtain a more complete understanding of the specific standards that apply.
8 Qiscuss ways to correct violations,

» Discuss problems concerning the abatement dates.

* Discuss problems concerning employee safety practices,

» Resolve disputed violations. .

* Obtain answers to any other questions you may have.

You are encouraged to take advantage of the opportunity to have an informal conference if you foresee
any difficultles In complying with any part of the OSHA Notice. Employee representatives have the right
to participate in any informal conference or negotiations between the Area Director or Regional
Administrator and the employer.

If you agree that the violatians do exist, but you have a valid reason for wishing to extend the abatement
date(s), you may discuss this with the Area Director during the informal conference. The Area Director
may issue an amended OSHA Notice that changes the abatement date prior to the expiration of the 15
working day period.

Every effort will be made to resolve the Issues at an Informal conference. If, however, an issue is not
resolved by the Area Director, a summary of the discussion together with the agency's position on the
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unresolved issues shall be forwarded to the Federal Agency Program Officer (FAPO) within 5 working
days of the informal conference.

® The FAPO/Regional Administrator will confer with the appropriate Regional agency official before
making a decision on the unresolved issues.

® If the FAPO/Reglonal Administrator, in consultation with the Area Director, decides that the item in
question should remain unchanged on the OSHA Notice, the appropriate agency officials shall be
advised.

* — If there Is still an unresolved fssue after the Regional review, the agency may send a letter of appeal
to OSHA's Office of Federal Agency Programs (OFAP).

*  OFAP will review the disputed Issues and discuss these with top agency offi cial, as appropriate, to
obtain resolution. The decision at the National Office level, in consultation with the Regional
Administrator, FAPO, and Area Director, is final,

® Under the OSHA Act, Executive Order 12196 and 29 CFR Part 1960, Federal sl agencies do not have the
right to contest the OSHA Notice.

Petition for Modification of Abatement (PMA)

Abatement dates are assigned on the basis of the best information available at the time the OSHA Notice
is Issued. When you are unable to meet an abatement date because of uncontrollable events or other
circumstances, you may file a Petition for Modification of Abatement (PMA) with the OSHA Area Director.

The petition must be in writing and must be submitted no later than one working day after the
abatement date. To show clearly that you have made a good-faith effort to comply, the PMA must include
all of the follawing information before it can be considered:

* Steps you have taken In an effort to achieve compliance and dates they were taken; —

« Additional time you need to comply;

» Why you need the additional time;

* Interim steps you are taking to safeguard your employees against the cited hazard(s) until the
abatement; and

« A certification that the petition has been posted, the date of posting and, when appropriate, a
statement that the petition has been furnished to an authorized representative of the affected
employees. The petition must remain posted for 10 working days, during which employees may file
an objection. .

» A PMA may be granted or objected to by the OSHA Area Director, If a PMA is granted, a monitoring
inspection may be conducted to ensure that conditions are as they have been described and that
adequate progress toward abatement has been made.

When agreement to extend the abatement date cannot be reached at the Area Office, the agency may
bring unresolved issues to the Regional Administrator/FAPO for resolution with his counterpart in the
agency. Issues not resolved at the regional level shall be forwarded to the Director, OFAP, for resolution
with agency headquarters in consultation with the Regional Administrator, the FAPO, and the Area
Director,

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Further information on PMAs may be obtained from any OSHA Area/District office.
Alternate Standards

Agency heads may apply for approval of an alternate standard where deemed necessary and, after
consulting with employees or their representatives, including appropriate safety and health committees,
notify the Secretary of Labor and request approval of such standards. The Secretary will not approve
alternate standards unless it provides affected employees equivalent or greater protection,

The agency head must provide the Secretary with the following:

* A statement of why the agency cannot comply with the OSHA standard or wants to adopt an
alternate standard;

» A description of the alternate standard;

e An explanation of how the alternate standard provides equivalent or greater protection for the
affected employees;

» A description of interim protective measures afforded employees until a decision is rendered by the
Secretary of Labor; and

»  Asurmmary of written comments, if any, from interested employees, employee representatives, and
occupational safety and health committees.

Employees and other interested groups are encouraged to participate in the alternate standard process.
Employee Courses of Action

Employees or their authorized representatives may object to any or alt of the abatement dates set for
violations if they belleve them to be unreasonable. A written notice of thelr objections must be filed with
the OSHA Area Director within 15 working days after the employer receives the OSHA Notice.

The filing of an employee objection does not suspend the employer's obligation to abate the hazard(s).

Employees also have the right to object to a PMA. Such objections must be in writing and must be sent to
the Area Office within 10 days of service ar posting.

Follow-up Inspection and Failure to Abate

If you receive a Notice of Unsafe or Unhealthful Working Conditions, a followup inspection may be
conducted to verify that you have done the following:

s Posted the OSHA Notice as required,

« Corrected the violations as required in the OSHA Notice, and/or

»  Adequately protected employees and made appropriate progress in correcting the hazards during
multi-step or lengthy abatement periods.

e Any new violations discovered during a followup Inspection will be cited, as well as any hazards which
have not been abated by the abatement date so specified on the OSHA Notice. The latter violations
will be cited in the form of a Failure to Abate Notice.
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Employer Discrimination

Executive Order 12196 and 29 CFR Part 1960.46 prohibit Federal agencies from discharging or otherwise
discriminating against an employee who has exercised any right under these laws, Including the right to
make safety and health complaints or to request an OSHA inspection. In addition, Federal employees
may have protection for such activity under the Whistleblower Protection Act of 1989.

Complaints from employees who belleve they have been discriminated against will be investigated by the
Office of Special Counsel except in thase agencies not covered by the Whistleblower Act. Agencies
exernpted from the Whistleblower Act are:

» A government corporation, such as the Tennessee Valley Authority;

» the Central Intelligence Agency, Defense Intelligence Agency, National Security Agency, or certain
other Intelligence agencies excluded by the President;

» the General Accounting Office;

» the U.S. Postal Service or Postal Rate Commission;

» the Federal Bureau of Investigation; and,

* Federal prisoners. .

if the Federal employee's agency is exempted from the Whistleblower Act, the alleged reprisal is
forwarded to the agency's Designated Agency Safety and Health Official (DASHO).

There is no time limit for filing a complaint with the Office of Special Counsel. To obtain further
information on this matter, employees may contact OSHA and/or the Office of Special Counsel.

Providing False Information

All information reported to OSHA by employers and employees must be accurate and truthful,
Additional Information

For further information and assistance, please contact your OSHA Area Director,

Related Publications

A single free copy of the following materials can be obtained from the OSHA Publications Office, 200
Constitution Avenue, N.W., Room N3101, Washington, D.C. 20210, (202) 219-4667

» Chemical Hazard Communication (OSHA 3084)

» tow to Prepare For Workplace Emergencles (OSHA 3088)

® Job Hazard Analysis (OSHA 3071)

» 29 CFR Part 1960, Basic Program Elements for Federal Employee Occupational Safety and Health
Programs and Related Matters

